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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01216-CJC-ADS Date October 29, 2021

 

 

Title John Ho v. 8147 Arroyo, LLC

 

PRESENT: HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

Rolls Royce Paschal Not Reported
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
PROSECUTION

 

Plaintiffs are responsible for prosecuting their actions diligently and complying
with Court orders. The Court’s Order Regarding Prosecution of Certain Cases Under the
Americans with Disabilities Act states that “[p]roofs of service for all defendants must be
filed within 95 days of the filing of the case absent a previously approved extension of
time by the Court or a motion or responsive pleading by all defendants.” (Dkt. 8 [hereinafter
the “Order’] at 2 [emphases in original].) The Order further admonishes that “failure to
comply with this Order in a particular case will result in a dismissal for lack of prosecution.”
(/d. at 3.)

Plaintiff filed this case on July 16, 2021. Although more than 95 days have

passed since that date, Plaintiff has not filed a proof of service on any defendant. The Court
therefore DISMISSES this action for lack of prosecution.

Initials of Deputy Clerk: rrp

 

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